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                   UNITED STATES DISTRICT COURT
                        DISTRICT OF KANSAS

                          JUDGMENT IN A CIVIL CASE


GLORIA GARRETT, ET AL,
                                  Plaintiffs,

v.                                                            CIVIL NO 13-2551-JAR

BRANSON COMMERCE PARK COMMUNITY
IMPROVEMENT DISTRICT, ET AL,
                          Defendants.


()    JURY VERDICT. This action came before the Court for a trial by jury. The issues
      have been tried and the jury has rendered its verdict.

(x)   DECISION BY THE COURT. This action came before the Court. The issues have
      been considered and a decision has been rendered.


      IT IS ORDERED AND ADJUDGED that pursuant to the Court's Memorandum and

Order dated 9/30/2014 (Doc. 60), the Plaintiffs' Motion for Leave to File First Amended

Complaint (Doc. 36) is DENIED.

      IT IS FURTHER ORDERED that BOFK's Motion for Leave to File Sur-Reply

Addressing Plaintiffs' Motion for Leave to Amend Complaint (Doc. 48) and the District's

Motion for Leave to File Sur-Reply to Plaintiff's Reply in Support of Motion for Leave to

File Amended Complaint (Doc. 40) are DENIED as moot.

      IT IS FURTHER ORDERED that Defendant BOFK's Motion for Judgment on the

Pleadings (Doc. 21), and Defendant the District's Motion to Dismiss (Doc. 16) are

GRANTED. This case is dismissed in its entirety with prejudice.
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Dated: September 30, 2014               TIMOTHY M. O'BRIEN, CLERK




                                        s/Bonnie Wiest

                                        Deputy Clerk
